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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
CHARLES M. KUPPERMAN,               )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                 Civil Action No. 19-3224 (RJL)
                                    )
UNITED STATES HOUSE OF              )
  REPRESENTATIVES, et al.,          )
                                    )
                  Defendants.       )
                                    )
____________________________________)


         PLAINTIFF’S BRIEF IN OPPOSITION TO MOTION TO INTERVENE


       Plaintiff Charles M. Kupperman respectfully opposes the motion to intervene submitted by

Acting Chief of Staff John Michael Mulvaney. We respectfully submit that the Court should deny

the motion. The Court should instead order the clerk to file Mulvaney’s proposed complaint under

a separate case number, and designate it as a “related case” under Local Civil Rule 40.5(a)(3), such

that the cases may be litigated separately, but in tandem before this Court.

INTRODUCTION AND SUMMARY OF ARGUMENT
       There are four key distinctions between Plaintiff’s case and the complaint that Mulvaney

proposes to file that preclude intervention as of right pursuant to FED. R. CIV. P. 24(a), and that

also counsel strongly against the exercise of the Court’s discretion to permit intervention under

FED. R. CIV. P. 24(b). First, Plaintiff is and will remain neutral on the question whether the

Executive Branch or the Legislative Branch should prevail on the merits of the unsettled

Constitutional dispute at issue in this case. In contrast, Mulvaney has made it clear that he supports

the Executive, and he accordingly seeks declaratory relief against only the House Defendants. See
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Mot. to Intervene, Doc. 26 at 2, 6-7 (Nov. 11, 2019) (“Doc. 26”); Compl. Ex. 3, Doc. 26-3 at ¶¶ 5,

44, p. 14 (Nov. 8, 2019) (“Doc. 26-3”). It necessarily follows that Mulvaney’s interests are

adequately protected by an existing party; President Trump, represented by the Department of

Justice, will vigorously champion Mulvaney’s interest in the President’s assertion of absolute

immunity overriding Mulvaney’s obligation to appear and testify in response to the House

subpoena.

       Second, Mulvaney has publicly discussed the events at issue in the House’s impeachment

inquiry, including appearing to admit that there was a quid pro quo relationship between the

President’s decision to withhold appropriated financial assistance from Ukraine and a Ukrainian

investigation into what happened to a Democratic server in 2016 (an admission he subsequently

sought to disavow). Plaintiff, in contrast, has never publicly disclosed information relating to any

of his official duties, including the matters under investigation by the House. Accordingly, there

is a serious question as to whether Mulvaney waived the absolute testimonial immunity claimed

by the President such that a judgment in Plaintiff’s case upholding the claim of immunity will not

necessarily apply to Mulvaney.

       Third, because Mulvaney is a current advisor to the President whereas Kupperman is a

former advisor, a judgment in Plaintiff’s case that the subpoena must be enforced will not

necessarily apply to Mulvaney, given that one important justification offered by the Office of Legal

Counsel (“OLC”) for its longstanding assertion of absolute testimonial immunity for close

Presidential advisors against Congressional process is that “preparing for such examinations would

force them to divert time and attention from their duties to the President at the whim of

congressional committees.” Memorandum for the Counsel to the President from Steven A. Engel,




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Assistant Attorney General, Office of Legal Counsel, Re: Testimonial Immunity Before Congress

of Former Counsel to the President, 43 Op. O.L.C., slip op. at *5 (May 20, 2019) (“Engel Mem.”).

       Fourth, all of Plaintiff’s official duties exclusively concerned advising the President on

highly sensitive matters of national security and foreign affairs, and if any close personal advisor

to the President qualifies for testimonial immunity, it surely must be the President’s National

Security Advisor and his deputy. In contrast, the bulk of Mulvaney’s duties “d[o] not involve the

sensitive topics of national security or foreign affairs.” Comm. on the Judiciary v. Miers, 558 F.

Supp. 2d 53, 105 (D.D.C. 2008).

       Permitting Mulvaney to intervene could thus prejudice Plaintiff’s strong interest in an

expeditious resolution of the merits of the momentous Constitutional issue presented here in

accordance with the aggressive schedule the Court has adopted for reaching final judgment as

quickly as possible. Both the issue concerning Mulvaney’s potential waiver of any absolute

testimonial immunity that the President may have and the question concerning the extent to which

Mulvaney’s official duties concern matters of national security and foreign affairs threaten to give

rise to discovery or other extraneous proceedings that could frustrate the Court’s efforts to

expeditiously decide this question of great national importance. To be sure, there is significant

overlap between Plaintiff’s case and the complaint Mulvaney seeks to bring, and the efficient

administration of justice demands that the overlapping legal issues be resolved as quickly and as

consistently as possible. The procedural device that permits the Court to vindicate these concerns

by deciding the overlapping questions together, while at the same time avoiding any prejudice to

Plaintiff given that the issues in the two cases diverge, is not intervention under Rule 24 but rather

this Court’s related-case rule that keeps the two cases separate while allowing the Court to consider

in tandem any and all overlapping issues.


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ARGUMENT
I.     MULVANEY DOES NOT SATISFY ALL              THE   REQUIREMENTS     FOR INTERVENTION AS OF
       RIGHT UNDER RULE 24(a)(2).

       Federal Rule of Civil Procedure 24 provides that, on a timely motion, a nonparty is entitled

to intervene in an ongoing action only if he “claims an interest relating to the property or

transaction that is the subject of the action, and is so situated that disposing of the action may as a

practical matter impair or impede the movant’s ability to protect its interest, unless existing parties

adequately represent that interest.” FED. R. CIV. P. 24(a)(2); see In re Brewer, 863 F.3d 861, 872

(D.C. Cir. 2017). Mulvaney cannot satisfy this test.

       A.      Mulvaney’s interest in having this Court uphold the President’s invocation of
               immunity is adequately represented by an existing party: President Trump.

       Mulvaney has failed to demonstrate that his interest in upholding the President’s invocation

of testimonial immunity on his behalf is not adequately represented by the existing parties.

Mulvaney maintains that Plaintiff Kupperman will not adequately represent his interest, and given

that Plaintiff is and will remain neutral on the merits of the constitutional issue, Plaintiff will not

represent Mulvaney’s interest at all. See Doc. 26 at 6. But Rule 24(a)(2) precludes intervention if

“existing parties adequately represent [his] interest,” (emphasis added), and President Trump,

represented by the Department of Justice, will fully represent Mulvaney’s interest in sustaining the

President’s invocation of testimonial immunity.

       Mulvaney’s papers make very clear that he has aligned himself fully and completely with

the President on the merits of the constitutional dispute before the Court. In the very first sentence

of the Proposed Complaint, Mulvaney states that he “files this complaint … against” the House

Defendants; conspicuously missing from Mulvaney’s list of Defendants is the President. Doc. 26-

3 at 3. Moreover, Mulvaney’s prayer for relief seeks no relief whatever against the President, even



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as he asks the Court to declare “that the House Defendants may not take adverse action against

[him] based on his decision to follow the President’s directive to assert [presidential] immunity at

a time when the Judicial Branch had not definitively resolved the question.” Id. at 14. And

Mulvaney’s counsel has publicly affirmed that “Mr. Mulvaney intends to follow any lawful order

of the president and has no reason to think that the order at issue is unlawful — other than the fact

the House has threatened him with charges of contempt and obstruction for following it.” Tom

Hamburger, Carol D. Leonnig, & Josh Dawsey, Mulvaney’s move to join impeachment testimony

lawsuit rankles Bolton allies, WASH POST (Nov. 10, 2019) (quoting William Pittard), available at

https://wapo.st/2NCBWDq. Indeed, Mulvaney’s counsel confirmed publicly that “his action is

aimed at the House, not the president.” Id.

       Mulvaney has offered this Court no reason to believe that the President’s defense on the

merits of testimonial immunity for his advisors, pressed by the extraordinarily able lawyers in the

Department of Justice, will be “ineffectual,” “incompetent,” or anything short of comprehensive.

See Jones v. Prince George’s County, 348 F.3d 1014, 1019 (D.C. Cir. 2003). Nor has he identified

any legal “argument that he suspects will not also be pressed by” the President. See Building &

Const. Trades Dep’t, AFL-CIO v. Reich, 40 F.3d 1275, 1282 (D.C. Cir. 1994); see also Dimond v.

District of Columbia, 792 F.2d 179, 193 (D.C. Cir. 1986) (intimating that there is adequate

representation when a governmental entity will “make the same legal arguments” that a proposed

intervenor would make). In the end, Mulvaney has not even attempted to demonstrate that the

President will not fully and adequately defend his interest in having this Court affirm the validity

of the President’s own assertion of absolute testimonial immunity. He is therefore not entitled to

intervene as of right under Rule 24(a)(2).




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       B.      This Court’s disposition of Plaintiff’s action will neither impair nor impede
               Mulvaney’s ability to protect his interests.

       Mulvaney’s motion to intervene as of right independently fails for a second reason: he

cannot show that he is “so situated that disposing” of Plaintiff’s action “may as a practical matter

impair or impede” his legal interests. FED. R. CIV. P. 24(a)(2). Looking to the “practical

consequences” of denying intervention, see Fund for Animals, Inc. v. Norton, 322 F.3d 728, 735

(D.C. Cir. 2003) (citation omitted), it is clear that the outcome of Plaintiff’s suit will have little

real-world impact on Mulvaney because he will not be bound by any ruling entered in this case,

and in any event, there are critical distinctions between the two claims that may leave Mulvaney’s

claim unresolved no matter how the Court decides Plaintiff’s case.

       Any judgment in Plaintiff’s case upholding the President’s claim of immunity may not

apply to Mulvaney for two reasons. First, as noted above, Mulvaney has publicly discussed

information relating to the matters at the heart of the House’s impeachment inquiry, thus giving

rise to a serious question whether Mulvaney waived any immunity that may have otherwise applied

to his compelled testimony. This issue may entail discovery into whether Mulvaney’s disclosures

were authorized by the President. Because Plaintiff, in contrast, has never publicly disclosed

information relating to his official duties, a ruling that he is absolutely immune would not

necessarily resolve Mulvaney’s claim.

       Second, quite apart from the question whether all close advisors to the President are

absolutely immune from congressional testimony, OLC has long taken the position that “the

President has the constitutional authority to assert an absolute executive privilege to protect

information the production or disclosure of which he determines could adversely affect the

Nation’s security.” Memorandum for C. Boyden Gray, Counsel to the President, from J. Michael

Luttig, Principal Deputy Assistant Attorney General, Office of Legal Counsel (Dec. 21, 1989), at

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1; see also United States v. Nixon, 418 U.S. 683, 710 (1974); Miers, 558 F. Supp. 2d at 105.

Because all of Plaintiff’s duties exclusively involve matters of national security and foreign affairs,

a ruling upholding testimonial immunity as to him may not necessarily apply to an official like

Mulvaney, whose official duties are largely unrelated to these highly sensitive areas. In any event,

the omnibus nature of Mulvaney’s official duties could give rise to extraneous proceedings

addressing whether any of the testimony sought by the House involves information relating to his

myriad duties outside the realm of national security and foreign affairs.

       Conversely, a ruling upholding the House’s subpoena issued to Plaintiff would not

necessarily impair Mulvaney’s interests. A central justification underlying absolute testimonial

immunity against Congressional process for close Presidential advisors is that “preparing for such

examinations would force them to divert time and attention from their duties to the President at

the whim of congressional committees.” Engel Mem., slip op. at *5. As a current advisor to the

President, Mulvaney may invoke this argument, while it does not apply to Plaintiff, a former

official. Moreover, the House has withdrawn the subpoena to Plaintiff and argued that Plaintiff’s

action is moot as a result; Mulvaney’s subpoena remains outstanding. 1

II.    THE COURT SHOULD NOT EXERCISE ITS DISCRETION UNDER RULE 24(b) TO PERMIT
       MULVANEY TO INTERVENE.

       Rule 24(b) grants this Court discretion to “permit anyone to intervene who . . . has a claim

or defense that shares with the main action a common question of law or fact.” FED. R. CIV. P.

24(b)(1)(B). But “[i]n exercising its discretion, the court must consider whether the intervention




       1
         We will oppose the House’s suggestion of mootness because it “is well settled that ‘a
defendant’s voluntary cessation of a challenged practice does not deprive a federal court of its
power to determine the legality of the practice.’ ” Friends of the Earth, Inc. v. Laidlaw Envtl.
Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (citation omitted).
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will unduly delay or prejudice the adjudication of the original parties’ rights.” FED. R. CIV.

P. 24(b)(3).

       The Court should exercise its discretion to deny permissive intervention because

Mulvaney’s action threatens to “unduly delay or prejudice the adjudication of” Plaintiff’s suit.

From the outset, the Court recognized that this case “is a matter of great public interest and a matter

of great urgency to the country,” and for that reason the Court emphasized that its “overarching

concern is that we get all this done as soon as possible so we can move forward with a briefing

schedule and bring this case to resolution.” Transcript of Status Conference at 6 (Oct. 31, 2019).

To achieve this objective, the Court has adopted an aggressive briefing schedule to enable the

Court to resolve this case “by the end of December or early January.” Id. at 18. Permitting

Mulvaney to intervene threatens to frustrate the Court’s efforts and to prejudice Plaintiff’s strong

interest in prompt resolution of the constitutional dilemma in which he finds himself.

       The two features of Mulvaney’s claim discussed above – the waiver issue and the

generalized nature of Mulvaney’s duties – threaten to divert the Court from the swift resolution of

the purely legal claims at issue in Plaintiff’s suit. To be sure, Mulvaney’s proposed Complaint

presents some common questions of law with Plaintiff’s suit, and we credit the proposition that

judicial efficiency demands that these common questions be resolved as quickly and as

consistently as possible by considering them in tandem. As we next explain, the Court has a ready

procedural device to achieve these objectives without inflicting the prejudice that would flow to

Plaintiff if Mulvaney were permitted to intervene in this action.

III.   THE COURT SHOULD DESIGNATE MULVANEY’S SUIT AS A SEPARATE RELATED CASE.

       A civil case filed in this district is “deemed related when the earliest is still pending on the

merits in the District Court” if, inter alia, the cases “(ii) involve common issues of fact, or (iii)


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grow out of the same event or transaction . . . .” Local Rule 40.5(a)(3). Because Mulvaney’s

action shares “common issues of fact” with Plaintiff’s action and “grow[s] out of the same event

or transaction” giving rise Plaintiff’s complaint, the Court may deem his case “related” to

Plaintiff’s pending suit and decide it separately from, but in tandem with, this case.

       The two cases have “highly overlapping issues of fact,” Comm. on the Judiciary v.

McGahn, 391 F. Supp. 3d 116, 121 (D.D.C. 2019), and the same event precipitated both actions.

Both arise out of the same congressional impeachment investigation, involve the same type of

congressional subpoena, concern high-level personal advisors to the President, and are framed by

the same assertion of absolute testimonial immunity for close Presidential advisors. Both Plaintiff

and Mulvaney were instructed by the President not to testify pursuant to the subpoenas, and both

have been threatened by the House Defendants with contempt.

       Most importantly, by treating the cases as separate but related, the Court may resolve the

common issues in tandem while not delaying resolution of Plaintiff’s pending case should the

waiver and national security/foreign affairs issues described above lead to additional proceedings

in Mulvaney’s case.     Simply put, the related case rule permits the Court to conduct joint

proceedings for as long as that makes sense while ensuring that Plaintiff’s strong interest in an

expeditious resolution of his purely legal claim is not encumbered by the potential diversions that

may arise in Mulvaney’s case.




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                                        CONCLUSION
       For the foregoing reasons, the Court should deny Mulvaney’s motion to intervene and

instead designate his complaint as a “related case” under Local Civil Rule 40.5(a)(3). A proposed

order is attached.

November 12, 2019                                   Respectfully submitted,

                                                    /s/ Charles J. Cooper
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                                                    Michael W. Kirk, Bar No. 424648
                                                    Shelby Baird*

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                                                    Counsel for Plaintiff Charles M. Kupperman
                                                    *
                                                        D.C. Bar Application Pending; Admitted
                                                          in Pennsylvania




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
CHARLES M. KUPPERMAN,               )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                 Civil Action No. 19-3224 (RJL)
                                    )
UNITED STATES HOUSE OF              )
  REPRESENTATIVES, et al.,          )
                                    )
                  Defendants.       )
                                    )
____________________________________)


                                     [PROPOSED] ORDER

       Upon consideration of John Michael Mulvaney’s Motion to Intervene (Nov. 8, 2019), any

responses thereto, and the entire record herein, it is hereby

       ORDERED, that Mulvaney’s Motion to Intervene is DENIED; and it is further

       ORDERED, that the Clerk shall file Mulvaney’s proposed complaint as a separate action

with a separate case number and designate that action as a related case under Local Civil Rule

40.5(a)(3).


       SO ORDERED.



DATED: ______________________                                   ____________________________
                                                                Hon. Richard J. Leon
                                                                United States District Judge
